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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: APPLE INC. DEVICE PERFORMANCE
LITIGATION                                                                             MDL No. 2827


                                       TRANSFER ORDER


         Before the Panel:* Plaintiff in the Northern District of California Gallmann action listed
on Schedule A moves under 28 U.S.C. § 1407 to centralize pretrial proceedings in this litigation in
the Northern District of California or, alternatively, in the Northern District of Illinois. This
litigation consists of nineteen actions pending in thirteen districts, as listed on Schedule A. In
addition to the actions on the motion, the parties have notified the Panel of forty-two actions pending
in ten districts that involve related issues.1

        All responding parties support centralization, but there is some disagreement as to the
transferee district. In addition to the movant, plaintiffs in thirty actions and potential tag-along
actions (as well as plaintiff in one action in the alternative) support centralization in the Northern
District of California.2 Also in addition to the movant, plaintiffs in three actions and potential tag-
along actions (as well as plaintiffs in five actions and potential tag-along actions in the alternative)
support centralization in the Northern District of Illinois. Plaintiff in a Southern District of Florida
action proposes centralization in that district, while common defendant Apple Inc. supports
centralization in the Northern District of California or, alternatively, the Central District of
California.

       On the basis of the papers filed and hearing session held, we find that the actions listed on
Schedule A involve common questions of fact, and that centralization in the Northern District of
California will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation. These actions share factual questions arising from allegations that Apple


       *
          Judges Charles R. Breyer and Lewis A. Kaplan took no part in the decision of this matter.
Additionally, one or more Panel members who could be members of the putative classes in this
litigation have renounced their participation in these classes and have participated in this decision.
       1
         These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
       2
          Plaintiffs in three actions and one potential tag-along action initially supported
centralization in either the Eastern or Western Districts of Texas. Counsel for these plaintiffs
informed the Panel staff at the hearing on this motion that they now support centralization in the
Northern District of California.
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                                                   -2-

included code in updates to its mobile operating system (iOS) that significantly reduced the
performance of older-model iPhones. Plaintiffs also allege that Apple misrepresented the nature of
the iOS updates and failed to adequately disclose to iPhone owners the impact the iOS updates
would have on the performance of their iPhones. Discovery regarding the engineering of the iPhone
and the iOS updates likely will be technical and complex. Plaintiffs assert similar causes of action
for false advertising, alleged unfair business practices, trespass to chattels, breach of contract, and
unjust enrichment. Moreover, plaintiffs bring these actions on behalf of overlapping putative classes
of iPhone owners. Centralization thus will eliminate duplicative discovery; prevent inconsistent
pretrial rulings, including with respect to class certification; and conserve the resources of the parties,
their counsel, and the judiciary.

         The Northern District of California is an appropriate transferee district for this litigation.
This district has a strong connection to these cases. Apple is headquartered within, and the critical
events and decisions underlying plaintiffs’ claims occurred in, the Northern District of California.
More than half of the related actions (32 of 61) were filed in this district. The majority of the
responding parties, including both plaintiffs and defendant, support centralization in this district.
The Northern District of California thus presents a convenient and accessible forum for this
litigation. All but one of the related actions pending in this district are assigned to the Honorable
Edward J. Davila, a jurist with prior MDL experience, who already has taken steps to coordinate the
actions before him and has heard argument on a preliminary injunction motion. We expect that
Judge Davila will steer this litigation on an efficient and prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with the
consent of that court, assigned to the Honorable Edward J. Davila for coordinated or consolidated
pretrial proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION



                                         __________________________________________
                                                        Sarah S. Vance
                                                            Chair

                                         Marjorie O. Rendell              Ellen Segal Huvelle
                                         R. David Proctor                 Catherine D. Perry
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IN RE: APPLE INC. DEVICE PERFORMANCE
LITIGATION                                                        MDL No. 2827


                                      SCHEDULE A


           Central District of California

     BOGDANOVICH, ET AL. v. APPLE INC., ET AL., C.A. No. 2:17-09138
     MAILYAN v. APPLE INC., C.A. No. 2:17-09192

           Northern District of California

     HARVEY v. APPLE INC., C.A. No. 5:17-07274
     GALLMANN v. APPLE INC., C.A. No. 5:17-07285
     HAKIMI v. APPLE INC., C.A. No. 5:17-07292
     BATISTA, ET AL. v. APPLE INC., C.A. No. 5:17-07355

           Southern District of California

     COOK v. APPLE INC., ET AL., C.A. No. 3:17-02579

           Southern District of Florida

     ABUROS v. APPLE INC., C.A. No. 1:17-24712

           Northern District of Illinois

     MANGANO, ET AL. v. APPLE INC., C.A. No. 1:17-09178
     NEILAN v. APPLE INC., C.A. No. 1:17-09296

           Southern District of Indiana

     SCHROEDER v. APPLE INC., C.A. No. 1:17-04750

           Eastern District of Louisiana

     LANASA v. APPLE INC., C.A. No. 2:17-17878

           Southern District of Mississippi

     MCINNIS, ET AL. v. APPLE INC., C.A. No. 1:17-00358
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      Western District of Missouri

BURTON, ET AL. v. APPLE INC., C.A. No. 2:17-04257

      Eastern District of New York

DRANTIVY v. APPLE INC., C.A. No. 1:17-07480
LAZARUS, ET AL. v. APPLE INC., C.A. No. 1:17-07485

      Southern District of New York

RABINOVITS, ET AL. v. APPLE INC., C.A. No. 1:17-10032

      District of South Carolina

BRAND, ET AL. v. APPLE INC., C.A. No. 2:17-03453

      Eastern District of Texas

MILLER, ET AL. v. APPLE INC., C.A. No. 4:17-00889
